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           ORDERED in the Southern District of Florida on August 19, 2020.




                                                               Laurel M. Isicoff
                                                               Chief United States Bankruptcy Judge
___________________________________________________________________________



                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                              MIAMI DIVISION
                                             www.flsb.uscourts.gov

           In re:                                                       Case No.: 20-13368-LMI

           Cynthia E. Ortiz,                                            Chapter 7

                           Debtor.                     /

                          ORDER GRANTING DEBTOR’S MOTION FOR
                AUTHORITY TO REDEEM PERSONAL PROPERTY AND APPROVAL OF
            ASSOCIATED FINANCING AND ATTORNEYS FEES UNDER 11 U.S.C. 722, [DE #33]

                    THIS MATTER, came before the Court on August 18, 2020, at 9:30 a.m. upon the Debtor’s

           Motion for Authority to Redeem Personal Property and Approval of Associated Financing and

           Attorney Fees Under 11 U.S.C. §722, (the “Motion”; DE #33), and with the Court, having

           reviewed the Motion, heard argument of counsel made without opposition, and for the reasons

           stated on record, finds that good cause exists to grant the Motion. It is therefore ORDERED:

                    1.     The Motion is GRANTED.




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       2.     The Debtor is authorized to enter into a financing agreement with Prizm Financial

Co. LLC (the “Prizm Loan”) to redeem her 2019 Honda Civic Sedan 4D, (VIN

#19XFC2F6XKE026608) in the amount of $16,425.00.

       3.     The fees of the Van Horn Law Group, P.A. associated with representing the Debtor

in the filing of this Motion are APPROVED.

       4.     The Debtor is authorized and directed to disburse the sum of $600.00 from the

Prizm Loan to the Van Horn Law Group, P.A. for representation of the Debtor in the filing of the

Motion.

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(Chad Van Horn, Esq. is hereby directed to provide a conformed copy of this Order to all parties-
in-interest and to file a Certificate of Service as to same).




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